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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                            Case No. 11-20564
v.

D-6 CARL LEE JONES,                                         Hon. John Corbett O’Meara

      Defendant.
______________________________/


                           ORDER DENYING DEFENDANT’S
                          MOTION TO SUPPRESS STATEMENT

       Before the court is Defendant’s motion to suppress the statement he made to the FBI on

September 26, 2011. The government opposes Defendant’s motion. The court held an

evidentiary hearing on the motion on September 11, 2012. At the hearing, the evidence

demonstrated that Defendant was read his Miranda rights at the time of his arrest by Officer

King. Further, the evidence showed that Defendant made his statement voluntarily, after being

informed of his rights. The court finds no basis to suppress Defendant’s statement.

       Accordingly, IT IS HEREBY ORDERED that Defendant’s motion to suppress is

DENIED.



                                             s/John Corbett O'Meara
                                             United States District Judge


Date: September 20, 2012
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        I hereby certify that a copy of the foregoing document was served upon counsel of record
on this date, September 20, 2012, using the ECF system.


                                            s/William Barkholz
                                            Case Manager
